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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                §
                                      §
SIDDHARTHA MUKHERJEE and              §         CASE NO. 23-41386
SUNITA MUKHERJEE                      §         Chapter 7
                                      §
      Debtor.                         §
__________________________________________________________________________

JPRS, LLC, SHARAD PATEL,                         §
HARPREET SINGH, PRABHA SINGH,                    §
and JUJAAR SINGH                                 §
            Plaintiffs,                          §
                                                 §
v.                                               §      Adversary No. ________________
                                                 §
SIDDHARTHA MUKHERJEE and,                        §
SUNITA MUKHERJEE                                 §
         Defendants.                             §

                                 PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

         COME NOW JPRS, LLC, Sharad Patel, Harpreet Singh, Prabha Singh, and Jujaar Singh

(collectively, the “Plaintiffs”), Creditors in the above-styled and entitled bankruptcy case and

Plaintiffs in the above-styled and numbered Adversary Proceeding, and files this Original

Complaint Objecting to Discharge, or in the alternative, Dischargeability of Debt (“Complaint”)

against Siddhartha Mukherjee and Sunita Mukherjee (collectively, the “Defendants” or

“Mukherjees”). In support thereof, Plaintiffs would respectfully show the Court as follows:



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                                              I.   PARTIES

        1.       Plaintiff JPRS, LLC is a Texas limited liability company and creditor in this

bankruptcy case.

        2.       Plaintiff Sharad Patel is an individual residing in Texas and creditor in this

bankruptcy case.

        3.       Plaintiff Harpreet Singh is an individual residing in Texas and creditor in this

bankruptcy case.

        4.       Plaintiff Prabha Singh is an individual residing in Texas and creditor in this

bankruptcy case.

        5.       Plaintiff Jujaar Singh is an individual residing in Texas and creditor in this

bankruptcy case.

        6.       Defendant Siddhartha Mukherjee (“Siddhartha”) is an individual and may be served

with citation at his residence at 3905 Kite Meadow Drive, Plano, Texas 75024.

        7.       Defendant Sunita Mukherjee (“Sunita”) is an individual and may be served with

citation at her residence at 3905 Kite Meadow Drive, Plano, Texas 75024.

                                 II.     JURISDICTION AND VENUE

        8.       This Court has jurisdiction over the subject matter of this adversary proceeding

under 28 U.S.C. §§ 1334(b) and 157(a)-(b), and Fed. R. Bankr. P. 7001(1), (2), (4) and (6).

        9.       Venue is proper in this Court pursuant to 28 U.S.C. § 1408.

        10.      This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. §157(a)-(b).

        11.      This Adversary Proceeding relates to In re: Siddhartha Mukherjee and Sunita

Mukherjee, Case No. 23-41386-btr, a Chapter 7 bankruptcy case pending in the United States

Bankruptcy Court for the Eastern District of Texas, Sherman Division.




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                                   III.   PROCEDURAL HISTORY

        12.      On or about July 13, 2023, the Mukherjees filed a Chapter 13 bankruptcy case.

        13.      The Mukherjees failed to appear at their first meeting of creditors on September 14,

2023.

        14.      Thereafter, the Chapter 13 Trustee filed a motion to dismiss the case due to the

Debtors failure to appear at the meeting of creditors and failing to make their chapter 13 payments.

        15.      On September 29, 2023, Jaiesh Narsian, Seshu Madabushi, Rahul Athale, Prashant

Jadhav, Harpreet Singh, Prabha Singh, Jujaar Singh, Terry Parvaga, Jasbir Kaur Parvaga and

Dipak Pravin filed a motion to convert the case to chapter 7. The Debtors further failed to appear

at a hearing on the motion to convert on October 19, 2023.

        16.      After motion and hearing, the bankruptcy case was converted to a Chapter 7 on

October 31, 2023. A copy of the conversion order is attached hereto and incorporated by reference

herein as Exhibit “1.”

        17.      Among other conclusions, the Court found:

                 a)       The Debtors have concealed cash or other assets which have not been

                          disclosed or properly accounted for in their Schedules and Statement of

                          Financial Affairs, and any amendments thereto.

                 b)       The Debtors failed to disclose all of their creditors in their Schedules and

                          Statement of Financial Affairs, and any amendments thereto. Debtors

                          further failed to provide sufficient notice of this bankruptcy proceeding to

                          their creditors due to this omission.

        18.      Debtors did not appeal this conversion order.




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        19.      Due to the delay caused by the continuance of the meeting of creditors, the Office

of the U.S. Trustee filed a motion and obtained an extension of the bar date for filing complaints

under 11 U.S.C. §§ 523 and 727 to April 30, 2024.

                                           IV.    FACTS

        20.      The Mukherjees approached Plaintiffs and pitched a business proposition in which

Plaintiffs would lend money to one of Defendants companies, Sri Laxmi Global Investment (“Sri

Laxmi Global”) and also become a partial owner of Dallas Creative Remodelers (“Dallas

Remodelers”), a different company owned by the Mukherjees.

        21.      Harpreet and Prabha Singh. Siddhartha approached Harpreet and Prabha Singh

in 2019 and explained an opportunity for investment with working capital financing for

reconstruction work through his company Dallas Remodelers. Siddhartha advised that Dallas

Remodelers was awarded a contract by Dallas Housing Authority (“DHA”).

        22.      Siddhartha explained that the DHA project was awarded to Dallas Remodelers

because Dallas Remodelers was a preferred vendor and had already done work for DHA. As a

result, Dallas Remodelers was not subject to the traditional project bidding process since there was

a backlog of work to be finished – hence DHA was assigning work to preferred vendors.

        23.      The Mukherjees informed, and provided documentation, that Dallas Creative

Remodelers was awarded bids with the DHA totaling just under $3 million dollars. The work

included replacing windows, flooring, and a roof for multiple DHA properties. When Plaintiffs

Harpreet and Prabha Singh requested updates on these projects, the Mukherjees told Plaintiffs that

COVID was delaying the start of these projects. Plaintiffs have learned that these bids were

fraudulent and no such bid or project exists with DHA.

        24.      To bolster their fraudulent representations, Siddhartha provided two letters from a

person purported to be an employee of the DHA providing pertinent information to a project in


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which Dallas Remodelers was involved dated December 5, 2019 and December 17, 2019. These

letters were intended to verify the existence of this project, but were forgeries by the Defendants.

Upon information and belief, the individual whose signature appears on the letters, Marvin S.

Suttice, was no longer employed by the DHA at the time the letter was dated and provided to the

Plaintiff. A true and correct copy of these December 2019 letters are attached hereto and

incorporated by reference herein as Exhibit “2.”

        25.      Harpreet and Prabha Singh entered into an agreement with Dallas Creative

Remodelers in which Harpreet and Prabha Singh would receive a return on their loan to Dallas

Creative Remodelers. Defendants specifically directed Harpreet and Prabha Singh to deposit these

funds into Sri Laxmi Global’s bank account.

        26.      Harpreet and Prabha Singh transferred $204,000.00 to Sri Laxmi Global. Sri Laxmi

Global and Dallas Creative Remodelers failed to uphold the repayment terms in many aspects, but

substantially failed to pay Harpreet and Prabha Singh their guaranteed interest. Although a few

payments were made, Sri Laxmi Global and Dallas Creative Remodelers attempted to make

additional payments from an account that lacked sufficient funds causing the checks to bounce and

not clear its bank account.

        27.      Defendants were both aware of the fraudulent disclosures used to defraud Plaintiffs

Harpreet and Prabha Singh with their related companies.

        28.      Jujaar Singh. Siddhartha approached Jujaar Singh in February 2020 and explained

an opportunity for investment with working capital financing for reconstruction work through his

company Dallas Remodelers. Siddhartha advised that Dallas Remodelers was awarded a contract

by DHA.




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        29.      Siddhartha explained that the DHA project was awarded to Dallas Remodelers

because Dallas Remodelers was a preferred vendor and had already done work for DHA. As a

result, Dallas Remodelers was not subject to the traditional project bidding process since there was

a backlog of work to be finished – hence DHA was assigning work to preferred vendors.

        30.      The Mukherjees informed, and provided documentation, that Dallas Creative

Remodelers was awarded bids with the DHA totaling just under $3 million dollars. The work

included replacing windows, flooring, and a roof for multiple DHA properties. When Plaintiff

Jujaar Singh requested updates on these projects, the Mukherjees told Plaintiff that COVID was

delaying the start of these projects. Plaintiff has learned that these bids were fraudulent and no

such bid or project exists with DHA.

        31.      Jujaar Singh entered into an agreement with Dallas Creative Remodelers in which

Jujaar Singh would receive a guaranteed 15% interest return on its loan to Dallas Creative

Remodelers issued by Sri Laxmi Global to Jujaar Singh. A true and correct copy of this Investment

Contract is attached hereto and incorporated by reference herein as Exhibit “3.” Defendants

specifically directed Jujaar Singh to deposit these funds into Sri Laxmi Global’s bank account.

        32.      On February 22, 2020, $100,000.00 was transferred to Sri Laxmi Global on behalf

of Jujaar Singh. Sri Laxmi Global and Dallas Creative Remodelers failed to uphold the repayment

terms in many aspects, but substantially failed to pay Jujaar Singh his guaranteed interest.

Although a few payments were made, Sri Laxmi Global and Dallas Creative Remodelers attempted

to make additional payments from an account that lacked sufficient funds causing the checks to

bounce and not clear its bank account.

        33.      Defendants were both aware of the fraudulent disclosures used to defraud Plaintiff

Jujaar Singh with their related companies.




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        34.      Sharad Patel. Siddhartha approached Sharad Patel in 2022 and explained an

opportunity for investment with working capital financing for reconstruction work through his

company Dallas Remodelers. Siddhartha advised that Dallas Remodelers was awarded a contract

by DHA.

        35.      Siddhartha explained that the DHA project was awarded to Dallas Remodelers

because Dallas Remodelers was a preferred vendor and had already done work for DHA. As a

result, Dallas Remodelers was not subject to the traditional project bidding process since there was

a backlog of work to be finished – hence DHA was assigning work to preferred vendors.

        36.      The Mukherjees informed, and provided documentation, that Dallas Creative

Remodelers was awarded bids with the DHA totaling just under $3 million dollars. The work

included replacing windows, flooring, and a roof for multiple DHA properties. When Plaintiff

Sharad Patel requested updates on these projects, the Mukherjees told Plaintiff that COVID was

delaying the start of these projects. Plaintiff has learned that these bids were fraudulent and no

such bid or project exists with DHA.

        37.      To bolster their fraudulent representations, Siddhartha provided a letter from a

person purported to be an employee of the DHA providing pertinent information to a project in

which Dallas Creative Remodelers was involved dated March 31, 2022. This letter was intended

to verify the existence of this project, but was a forgery by the Defendants. Upon information and

belief, the individual whose signature appears on the letters, Marvin S. Suttice, was no longer

employed by the DHA at the time the letter was dated and provided to the Plaintiff. A true and

correct copy of the March 31, 2022 letter is attached hereto and incorporated by reference herein

as Exhibit “4.”




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        38.      Sharad Patel entered into an agreement with Dallas Creative Remodelers in which

Sharad Patel would receive a guaranteed 12% interest return on its loan to Dallas Creative

Remodelers issued by Sri Laxmi Global to Sharad Patel. A true and correct copy of this Investment

Contract is attached hereto and incorporated by reference herein as Exhibit “5.” Defendants

specifically directed Sharad Patel to deposit these funds into Sri Laxmi Global’s bank account.

        39.      On or about April 7, 2022, $30,000.00 was transferred to Sri Laxmi Global on

behalf of Sharad Patel. Sri Laxmi Global and Dallas Creative Remodelers failed to uphold the

repayment terms in many aspects, but substantially failed to pay Sharad Patel his guaranteed

interest. Although a few payments were made, Sri Laxmi Global and Dallas Creative Remodelers

attempted to make additional payments from an account that lacked sufficient funds causing the

checks to bounce and not clear its bank account.

        40.      Defendants were both aware of the fraudulent disclosures used to defraud Plaintiff

Sharad Patel with their related companies.

        41.      JPRS, LLC. Siddhartha approached JPRS, LLC in October 2022 and explained

an opportunity for investment with working capital financing for reconstruction work through his

company Dallas Remodelers. Siddhartha advised that Dallas Remodelers was awarded a contract

by DHA.

        42.      Siddhartha explained that the DHA project was awarded to Dallas Remodelers

because Dallas Remodelers was a preferred vendor and had already done work for DHA. As a

result, Dallas Remodelers was not subject to the traditional project bidding process since there was

a backlog of work to be finished – hence DHA was assigning work to preferred vendors.

        43.      The Mukherjees informed, and provided documentation, that Dallas Creative

Remodelers was awarded bids with the DHA totaling just under $3 million dollars. The work




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included replacing windows, flooring, and a roof for multiple DHA properties. When Plaintiff

JPRS, LLC requested updates on these projects, the Mukherjees told Plaintiff that COVID was

delaying the start of these projects. Plaintiff has learned that these bids were fraudulent and no

such bid or project exists with DHA.

        44.      To bolster their fraudulent representations, Siddhartha provided a letter from a

person purported to be an employee of the DHA providing pertinent information to a project in

which Dallas Creative Remodelers was involved dated October 21, 2022. The letter was intended

to verify the existence of this project, but was a forgery by the Defendants. Upon information and

belief, the individual whose signature appears on the letters, Marvin S. Suttice, was no longer

employed by the DHA at the time the letter was dated and provided to the Plaintiff. A true and

correct copy of this October 21, 2022 letter is attached hereto and incorporated by reference herein

as Exhibit “6.”

        45.      JPRS, LLC entered into an agreement with Dallas Creative Remodelers in which

JPRS, LLC would receive a guaranteed 40% interest return on its loan to Dallas Creative

Remodelers for a total of $226,800.00 issued by Sri Laxmi Global to the Plaintiffs. A true and

correct copy of this Investment Contract is attached hereto and incorporated by reference herein

as Exhibit “7.” Defendants specifically directed JPRS, LLC to deposit these funds into Sri Laxmi

Global’s bank account.

        46.      Between October 27, 2022 and November 15, 2022, $128,400.00 was transferred

to Sri Laxmi Global on behalf of JPRS, LLC. Sri Laxmi Global and Dallas Creative Remodelers

failed to uphold the repayment terms in many aspects, but substantially failed to pay JPRS, LLC

its guaranteed interest. Although a few payments were made, Sri Laxmi Global and Dallas




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Creative Remodelers attempted to make additional payments from an account that lacked

sufficient funds causing the checks to bounce and not clear its bank account.

          47.    Defendants were both aware of the fraudulent disclosures used to defraud Plaintiff

JPRS, LLC with their related companies.

          48.    To continue to keep Plaintiffs in this roller coaster scheme, the Mukherjees

occasionally paid Plaintiffs a small portion to make them believe their investment would turn a

profit.

          49.    The Mukherjees conned Plaintiffs into loaning funds to Sri Laxmi Global

agreement entering in the Dallas Creative Remodelers Contract by using fraudulent

documentation, statements, forged bank statements and representations for both companies. The

Mukherjees failed to uphold the terms of the certificate of deposits and Dallas Creative Remodelers

Contract signed between the parties.

          50.    Defendants made fraudulent misrepresentations to Plaintiffs. Defendants made

representations related to interest payments and guaranteed returns the Plaintiffs would receive,

scheduled construction contracts/bids that were awarded, amongst others. These representations

were made with the specific intent that Plaintiffs rely upon them, which they did so rely. Such

reliance caused damages to Plaintiffs.

          51.    Defendants made numerous representations to Plaintiffs to induce them into

investing into the ownership of Sri Laxmi Global and Dallas Creative Remodelers. Defendants

made these representations knowing that they could not and would not pay Plaintiffs the

contractual interest on their initial investments, knowing that Defendants did not have construction

contracts with DHA or any other entities, provided forged documentation and insufficient funds




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to Plaintiffs. Plaintiffs reasonably relied upon these misrepresentations when making the decision

to invest into these companies.

        52.      The Defendants failed to list Plaintiffs as creditors in their bankruptcy filing.

        53.      Defendants intentionally did not list this debt in hopes to defraud Plaintiffs and

continue soliciting funds from unsuspecting parties.

        54.      Upon information and belief, the Defendants own expensive household goods that

have not been disclosed in their Schedules or any amendments thereto.

        55.      The Defendants failed to list the millions of dollars they have taken from various

persons who now consider themselves victims of the Debtors.

        56.      Upon information and belief, the Defendants failed to disclose material

information, among other items, required for this Court to administer the case as follows:

                 a)       Defendants failed to disclose their loan from Ceasons Holdings LLC;

                 b)       Defendants failed to disclose the discharge of the lien of the prior

        mortgagee, Wildcat Lending Fund One L.P. against their Garland property;

                 c)       Defendants misrepresented which property was their homestead;

                 d)       Defendants failed to disclose the sale of their Garland property;

                 e)       Defendants failed to disclose the rental income received from the lease of

        their Plano property.

        57.      Upon information and belief, the Chapter 7 Trustee, Linda S. Payne, requested

information regarding these transfers and assets from the Defendants. To date, Defendants have

not fully complied with these requests.




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        58.      The Defendants have falsified their bankruptcy filings and falsified loan

documents. Plaintiffs believe Defendants used the same modus operandi to defraud countless

creditors.

                                    V.    CAUSES OF ACTION

                      Count One: False Oath under 11 U.S.C. § 727(a)(4)(A)

        59.      Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        60.      The Bankruptcy Code provides that the Court shall grant the debtor a discharge

unless “the debtor knowingly and fraudulently, in or in connection with the case . . . made a false

oath or account.” 11 U.S.C. §727(a)(4)(A). “[T]he existence of duty is a question of law for the

court to decide from the facts surrounding the occurrence in question.” Greater Houston Transp.

Co. v. Phillips, 801 S.W.2d 523, 525 (Tex. 1990), citing Otis Eng’g Corp. v. Clark, 668 S.W.2d

307, 312 (Tex. 1983).

        61.      To prevail under section 727(a)(4)(A), an objecting plaintiff must prove by a

preponderance of the evidence “that (1) the debtor made a statement under oath; (2) the statement

was false; (3) the debtor knew the statement was false; (4) the debtor made the statement with

fraudulent intent; and (5) the statement was material to the bankruptcy case.” Judgment Factors,

L.L.C. v. Packer (In re Packer), 816 F.3d 87, 94 (5th Cir. 2016).

        62.      A false statement or omission from a debtor’s schedules or statement of financial

affairs may constitute a false oath for purposes of section 727(a)(2)(A). See Beaubouef v.

Beaubouef (In re Beaubouef), 966 F.2d 174, 178 (5th Cir. 1992). Disclosure of this information

is necessary to the transparency of the bankruptcy process because it may lead to the discovery of

other assets. Id. at 177-78. “Full disclosure of assets and liabilities in the schedules…is essential”




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to ensure that the chapter 7 trustee and creditors have ‘“adequate information…without need for

investigation to determine whether the information provided is true.’” Id. at 179 (citations

omitted).

        63.      The Defendants failed to list Plaintiffs as creditors in their bankruptcy filing.

        64.      Defendants intentionally did not list this debt in hopes of defrauding Plaintiffs and

continue soliciting funds from unsuspecting parties.

        65.      Upon information and belief, the Defendants own expensive household goods that

have not been disclosed in their Schedules or any amendments thereto.

        66.      The Defendants failed to list the millions of dollars they have taken from various

persons who now consider themselves victims of the Debtors.

        67.      Upon information and belief, the Defendants failed to disclose material

information, among other items, required for this Court to administer the case as follows:

                 a)       Defendants failed to disclose their loan from Ceasons Holdings LLC;

                 b)       Defendants failed to disclose the discharge of the lien of the prior

        mortgagee, Wildcat Lending Fund One L.P. against their Garland property;

                 c)       Defendants misrepresented which property was their homestead;

                 d)       Defendants failed to disclose the sale of their Garland property;

                 e)       Defendants failed to disclose the rental income received from the lease of

        their Plano property.

        68.      Accordingly, the Mukherjees’ discharge should be denied for false oath under

section 727(a)(4)(A).

                 Count Two: Concealment of Assets under 11 U.S.C. § 727(a)(2)

        69.      Plaintiffs incorporate by reference the allegations set forth above as if the same




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were fully set forth herein.

        70.      Section 727(a)(2) provides that the Court may deny a discharge if the debtor has:

                 (2) the debtor, with intent to hinder, delay, or defraud a creditor or an officer of the
                 estate charged with custody of property under this title, has transferred, removed,
                 destroyed, mutilated, or concealed, or has permitted to be transferred, removed,
                 destroyed, mutilated, or concealed—
                         (A) property of the debtor, within one year before the date of the filing of
                         the petition; or
                         (B) property of the estate, after the date of the filing of the petition.

11 U. S.C. § 727(a)(2).

        71.      To deny discharge under section 727(a)(2), the plaintiff must prove four elements:

(1) a transfer of property; (2) belonging to the debtor or the bankruptcy estate; (3) within one year

of the filing of the petition; (4) with intent to hinder, delay, or defraud a creditor or officer of the

estate.” In re Chastant, 873 F.2d 89, 91 (5th Cir. 1989) (citing In re Reed, 18 B.R. 462 (Bankr.

E.D. Tenn. 1982)).

        72.      In examining intent under section 727(a)(2), courts look to certain “badges of

fraud” which “tend to evidence a transfer made with intent to defraud.” Soza v. Hill (In re Soza),

542 F.3d 1060, 1067 (5th Cir. 2008).             These badges include 1) absence or inadequate

consideration; 2) whether the debtor has close or familiar relationship with transferee(s); 3)

whether debtor retained possession, benefit, or use of transferred property; 4) the debtor’s financial

condition before and after the questioned transaction; 5) the overall pattern or course of conduct

after “incurring the debt, onset of financial difficulties, or pendency or threat of suits by creditors”

and 6) the general timeline of events. Id., citing Chastant v. Chastant (In re Chastant), 873 F.2d

89, 91 (5th Cir. 1989).

        73.      The Mukherjees hold bank accounts under their business names. They did not

disclose this property on Schedule A/B.

        74.      Plaintiffs deposited funds into Defendants’ business bank accounts as a direct result


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of Defendants’ fraudulent acts. Defendants regularly used these business accounts for their

personal benefit once they were able to scheme further funds from innocent investors.

        75.      The concealment of these assets continued through the year before the Petition Date

and after. “[T]he concealment of an interest in an asset that continues, with the requisite intent,

into the year before the bankruptcy constitutes a form of concealment which occurs within the year

before bankruptcy,” and therefore “within the reach of section 727(a)(2)(A).” Thibodeaux v.

Olivier (In re Olivier), 819 F.2d 550, 554-55 (5th Cir. 1987).

        76.      In the year before the Petition Date, the Mukherjees exercised control over the

business bank accounts and directed Plaintiffs to deposit funds into same. They did not disclose

this property on Schedule A/B. The Mukherjees continued their control and concealment by

failing to disclose the account in a subsequent amendment to Schedule A/B.

        77.      Accordingly, the Mukherjees’ discharge should be denied for concealment of assets

with intent to hinder, delay, or defraud creditors under sections 727(a)(2)(A) and (B).

      Count Three: Failure to Maintain Books and Records under 11 U.S.C. § 727(a)(3)

        78.      Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        79.      The Bankruptcy Code provides that the Court may deny a debtor’s chapter 7

discharge if the debtor “has concealed…or failed to keep or preserve any recorded

information…from which the debtor’s financial condition or business transactions might be

ascertained, unless such act or failure to act was justified under all of the circumstances of the

case.” 11 U.S.C. § 727(a)(3).

        80.      The objecting part under section 727(a)(3) “need not prove fraudulent intent [with

regard to a failure to keep and preserve records], but only that the debtor unreasonably failed to




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maintain sufficient records to adequately ascertain his financial situation.” Neary v. Hughes (In re

Hughes), 353 B.R. 486, 501 (Bankr. N.D. Tex. 2006) (denying discharge of debtor who operated

on a cash-only basis under section 727(a)(3)), aff’d, 386 B.R. 624 (N.D. Tex. 2008), aff’d, 309

Fed. Appx. 841 (5th Cir. 2009)(citations omitted).

        81.      The Mukherjees have received over $462,400.00 and $158,400.00 in the last year

from Plaintiffs due to their fraudulent acts. While the Mukherjees have provided some personal

and business bank statements, they have not provided all of the requested statements, supporting

DHA project documentation, or other further business records to support the allegations told to

Plaintiffs to secure investments. The Mukherjees’ sworn testimony on income and expenses

cannot be verified without such records.

        82.      The Mukherjees have failed to keep or preserve sufficient recorded information

from which their financial condition or business transactions might be ascertained.

        83.      Accordingly, the Mukherjees’ discharge should be denied for failure to maintain

adequate books and records under section 727(a)(3).

Count Four: Failure to Cooperate with Chapter 7 Trustee under 11 U.S.C. § 727(a)(4)(D)

        84.      Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        85.      The Bankruptcy Code provides that the Court shall deny a debtor’s discharge if that

debtor has withheld from the chapter 7 trustee “any recorded information…related to the debtor’s

property or financial affairs.” 11 U.S.C. § 727(a)(4)(D).

        86.      The purpose of section 727(a)(4) is to “ensure that debtors provide all relevant

information without the need for lengthy examination and investigations into the affairs of the

estate.” Benchmark Bank v. Crumley (In re Crumley), 428 B.R. 349, 367-68 (Bankr. N.D. Tex.




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2010).

         87.     The Mukherjees knowingly and fraudulently withheld information from the

Chapter 7Trustee, Creditors, and United States Trustee.           The Chapter 7 Trustee asked for

documents immediately after the continued meeting of creditors. The Defendants knew from the

Trustee’s questions at this meeting that the Trustee wanted documentation related to business

transactions and related assets, which in turn related to the Mukherjee’s financial affairs.

         88.     Accordingly, the Mukherjees’ discharge should be denied for knowingly and

fraudulently withholding information from the Trustee under section 727(a)(4)(D).

       Count Five: Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(2)(A)

         89.     Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

         90.     11 U.S.C. § 523 (a)(2)(A) provides, in relevant part, that:

                 A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of this
                 title does not discharge an individual debtor from any debt-…(2) for money,
                 property, services, or an extension, renewal, or refinancing of credit, to the
                 extent obtained by-(A) false pretenses, a false representation or actual fraud,
                 other than a statement respecting the debtor’s or an insider’s financial
                 condition.

         91.     The Defendants are liable to the Plaintiffs for a debt obtained by actual fraud other

than a statement respecting the debtor’s or an insider’s financial condition.

         92.     Defendants made fraudulent misrepresentations to Plaintiffs. Defendants made

representations related to interest payments the Plaintiffs would receive, scheduled construction

contracts/bids that were awarded, amongst others. These representations were made with the

specific intent that Plaintiffs rely upon them, which they did so rely. Such reliance caused damages

to Plaintiffs.

         93.     Defendants made numerous representations to Plaintiffs to induce them to loan



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money to Sri Laxmi Global and investing into the ownership of Dallas Creative Remodelers.

Defendants made these representations knowing that they could not and would not pay Plaintiffs

the contractual interest on their initial investments, knowing that Defendants did not have

construction contracts with DHA or any other entities, provided forged documentation and

insufficient funds to Plaintiffs. Plaintiffs reasonably relied upon these misrepresentations when

making the decision to invest in these companies.

        94.      Accordingly, discharge of the Plaintiffs’ debt against the Defendants is barred by

section 523(a)(2)(A) of the Bankruptcy Code.

       Count Six:        Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(2)(B)

        95.      Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        96.      11 U.S.C. § 523(a)(2)(B) provides, in relevant part, that:

                 A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of this
                 title does not discharge an individual debtor from any debt-…(2) for money,
                 property, services, or an extension, renewal, or refinancing of credit, to the
                 extent obtained by-…(B) use of a statement in writing- (i) that is materially
                 false; (ii) respecting the debtor’s or an insider’s financial condition; (iii) on
                 which the creditor to whom the debtor is liable for such money, property,
                 services, or credit reasonably relied; and (iv) that the debtor caused to be
                 made or published with intent to deceive.

        97.      The acts committed by the Defendants, including transmitting forged screenshots

of his company’s bank account at Bank of America which was materially false respecting his

financial condition, to the Plaintiffs to whom he owned a debt with the intent to deceive and to

which the Plaintiffs’ reasonably relied.

        98.      Accordingly, discharge of the Plaintiffs’ debt against the Defendants is barred by

section 523(a)(2)(B) of the Bankruptcy Code.




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         Count Seven: Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(4)

        99.      Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        100.     11 U.S.C. § 523(a)(4) provides, in relevant part, that:

                 A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of this
                 title does not discharge an individual debtor from any debt-…(4) for fraud
                 or defalcation while acting in a fiduciary capacity, embezzlement, or
                 larceny.

        101.     The acts committed by the Defendants, including transmitting forged screenshots

of his company’s bank account at Bank of America which was materially false respecting his

financial condition, to the Plaintiffs to whom he owned a debt with the intent to deceive and to

which the Plaintiffs’ reasonably relied constitute fraud or defalcation while acting in a fiduciary

capacity, embezzlement, or larceny and, by reason of the foregoing, the debt should be determined

to be non-dischargeable.

        102.     Accordingly, discharge of the Plaintiffs’ debt against the Defendants is barred by

section 523(a)(2)(B) of the Bankruptcy Code.

         Count Eight: Non-Dischargeability of Debt Pursuant to 11 U.S.C. § 523(a)(6)

        103.     Plaintiffs incorporate by reference the allegations set forth above as if the same

were fully set forth herein.

        104.     11 U.S.C. § 523(a)(6) provides, in relevant part, that:

                 A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of this
                 title does not discharge an individual debtor from any debt-…(6) for willful
                 and malicious injury by the debtor to another entity or to the property of
                 another entity.

        105.     The acts committed by the Defendants, including transmitting forged screenshots

of his company’s bank account at Bank of America which was materially false respecting his

financial condition, to the Plaintiffs to whom he owned a debt with the intent to deceive and to


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which the Plaintiff’s reasonably relied constitute willful and malicious injury by the debtor to

another entity or to the property of another entity

        106.     Accordingly, discharge of the Plaintiffs’ debt against the Defendants is barred by

section 523(a)(2)(B) of the Bankruptcy Code.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs JPRS, LLC, Sharad Patel,

Harpreet Singh, Prabha Singh, and Jujaar Singh request that the Court: (1) a discharge under 11

U.S.C. §§§§ 727(a)(4)(A), (a)(2), (a)(3), and (a)(4)(D); (2) in the alternative, enter Judgment

determining that the debts owed to Plaintiffs JPRS, LLC, Sharad Patel, Harpreet Singh, and Prabha

Singh by Debtors Siddhartha Mukherjee and Sunita Mukherjee are non-dischargeable under 11

U.S.C. §§§§ 523(a)(2)(A), (a)(2)(B), (a)(4) and (a)(6); (3) award reasonable attorney’s fees and

costs for this Complaint to the extent permitted by law; and (4) grant such other and further relief,

both at law and in equity, to which Plaintiffs show themselves to be justly entitled.

        DATED: April 30, 2024.

                                                      Respectfully submitted,

                                                       /s/ Joyce W. Lindauer
                                                      Joyce W. Lindauer
                                                      State Bar No. 21555700
                                                      Joyce W. Lindauer Attorney, PLLC
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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

IN RE:                                           §
                                                 §
SIDHARTHA MUKHERJEE and                          §           CASE NO. 23-41386-btr
SUNITA MUKHERJEE,                                §           Chapter 13
                                                 §
       Debtors.                                  §

                       ORDER GRANTING MOTION TO CONVERT
                          CHAPTER 13 CASE TO CHAPTER 7

       CAME ON FOR CONSIDERATION BY THE COURT the Motion to Convert Chapter 13

Case to Chapter 7 [Dkt. No. 29] filed by Jaiesh Narsian, Seshu Madabushi, Rahul Athale, Prashant

Jadhav, Harpreet Singh, Prabha Singh and Dipak Pravin, creditors and parties-in-interest in the

above-styled and numbered bankruptcy case (“Creditors” or “Movants”), the Court having

reviewed the pleadings, evidence and argument of counsel, finds good cause to grant the Motion.

THE COURT HEREBY FINDS:

       A.      On July 31, 2023 (the “Petition Date”), the Debtors filed a voluntary petition for

relief under Chapter 13 of the Bankruptcy Code.

       B.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       C.      The Debtors have concealed cash or other assets which have not been disclosed or

properly accounted for in their Schedules and Statement of Financial Affairs, and any amendments

thereto.

       D.      The Debtors failed to disclose all of their creditors in their Schedules and Statement

of Financial Affairs, and any amendments thereto. Debtors further failed to provide sufficient

notice of this bankruptcy proceeding to their creditors due to this omission.



                                                                                EXHIBIT "1"
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          E.     Debtors owe their creditors in excess of $2,750,000.00 and therefore, pursuant to

11 U.S.C. § 109(e), are not eligible for relief under chapter 13 of this title.

          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the

above-styled and numbered case be and hereby is converted from Chapter 13 to Chapter 7; it is

further

          ORDERED that any funds on hand with the Chapter 13 Trustee, Carey D. Ebert, shall be

held until such further order of this Court.



                                                     Signed on 10/31/2023

                                                                                    SD
                                              HONORABLE BRENDA
                                              HONORABLE   BRENDA T.
                                                                  T. RHOADES,
                                                                     RHOADES,
                                              UNITED
                                              CHIEF  STATES
                                                    UNITED   BANKRUPTCY
                                                           STATES         JUDGEJUDGE
                                                                  BANKRUPTCY




Submitted by:
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Terry Parvaga, Jasbir Kaur Parvaga and
Dipak Pravin
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                                                             EXHIBIT "2"
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                                                          EXHIBIT "3"
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                                                                                                EQUAL HOUSING
                                                                                                OPPORTUNITY

3939 N. Hampton Rd., D allas, TX 75212. Phone: 214.951.8300 Fax: 214.951.88001 www. dhadal.com




March 31, 2022

DALLAS CREATIVE REMODELERS
3905 Kite Meadow Drive
Plano TX-75074



Hello Mr. Sidhartha Mukhe1jee,

We refer to your Bid submitted by your company for carrying out
REMOVAL AND REPL ACEMENT OF DWELLING UNIT VCT Flooring
AT ROSEL AND ESTATES, 3335 Munger, Dallas, Texas 75204 (Project# IFB-2022-32)

We are pleased to inform you that the DH A has, after prudent consideration of your Bid, decided to
award the Contract to your company. The followings are the General Terms of the Bid

PRICE: $962,889.00
PERIOD: 20 Weeks
PAY MENT: Every 45 days totaling to 4 payments of 25% each
SECURIT Y: 10% of the Project Value (payable on execution)

Please contact the undersigned on or before April 11, 2022 to sign the Agreement & schedule the
work.




Marvin S. Suttice
Contract Specialist
Procurement Department




                                                                             EXHIBIT "4"
                        DHA is a Fair Housing and Equal Opportunity Agen cy
         Individualswith disabilities may contact the504/ADAAdministrator at214.951.8348,
                            TTY 1.800.735.2989 or504ADA@dhadal.com
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